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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

       Libertarian Party of Illinois, et al.,   )     Case No. 20 CV 2112
                                                )
               Plaintiffs,                      )     Hon. Charles R. Norgle, Sr.,
                                                )     Presiding Judge
       and Kyle Kopitke,                        )
                                                )     Hon. Jeffrey Cummings
               Intervenor,                      )     Magistrate Judge
                                                )
                vs.                             )     Hon. Rebecca R. Pallmeyer,
                                                )     Emergency Judge.
       J.B. Pritzker, et al.,                   )
                                                )
               Defendants.                      )

                 STATE BOARD OF ELECTIONS DEFENDANTS’
         EMERGENCY MOTION FOR RECONSIDERATION IN PART OF ORDER
                   GRANTING PRELIMINARY INJUNCTION

       NOW COMES Defendants, individual members of the Illinois State Board of Elections

(the “Board”), and, pursuant to Rule 59 of the Federal Rules of Civil Procedure, moves this

Honorable Court for reconsideration of certain provisions of the Order granting a preliminary

injunction as entered by this Court on April 23, 2020. In support of this Motion, the Board states

as follows:

1.     This case concerns the nomination of independent and new political party candidates for

State offices in the November 3, 2020 General Election. Under Illinois Election laws, such

candidates are ordinarily required to gather a statutorily required number of petition signatures

and file them with the Board by the June 22, 2020 filing deadline set forth in the Election Code.

See 10 ILCS 5/10-6. This statutory deadline was previously upheld by the Seventh Circuit in

Nader v. Keith, 385 F.3d 729 (7th Cir. 2004).

2.     Recognizing the difficulty in gathering signatures under the current COVID-19

environment, all parties agreed that some easing of the ordinary petition circulation restrictions
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would be appropriate for this election. After several discussions amongst the parties and two

hearings, this Court entered a preliminary injunction addressing four main points:

               (1) Plaintiff political parties would be permitted to nominate candidates without
               petitions in any race in which they had nominated a candidate in either 2016 or
               2018, and any independent candidate who ran for an office in 2016 or 2018 would
               be permitted to run for that office again in 2020 without petitions;

               (2) New political party and independent candidates not subject to item (1) would
               be required to file nomination petitions signed by not less than 10% of the
               statutory minimum number required;

               (3) Petition signers will be permitted to affix their signatures to a petition
               electronically, by using a computer mouse, a stylus or their finger; and

               (4) the statutory petition filing deadline of June 22, 2020 will be moved to
               August 7, 2020.

3.     With due respect for this Court, the Board, after consultation with several local election

officials, is compelled to ask this Court to reconsider its decision regarding the petition filing

deadline and the signature requirement for two reasons. First, and foremost, the Board after

consultation with many of the State’s local election authorities has determined that the

component parts of the Court’s Order will make it extremely difficult to comply with the various

deadlines imposed by both State and federal law necessary for the orderly conduct of an election

on November 3, 2020. Second, in light of the decision just three days ago by the United States

Court of Appeals for the Sixth Circuit in Esshaki v. Whitmer, Case No. 20-1336 (6th CIR. May 5,

2020), the Board respectfully requests that this Court amend its Preliminary Injunction Order to

grant Plaintiffs similar relief to that the Court directed in that case: namely that the Board be

ordered to determine the best relief to balance the interests of the Plaintiffs (and other

candidates) and still be able to meet its obligations to conduct an orderly election.

4.     As the Board indicated before this Court, and as set forth in greater detail in the attached

Declaration by Steve Sandvoss, the Executive Director of the State Board of Elections (Exhibit

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A), the August 7, 2020 filing deadline (which constitutes a 46-day delay in the filing deadline)

imposes a great strain on not only the Board, but all of the 105 local election authorities across

the State, who must prepare and print ballots within the timeframes established by both State and

federal law.

5.      As further set forth in the Declarations of Thomas Holbrook, the St. Clair County Clerk,

and Edmund Michalowski, the Deputy Clerk for Elections (Exhibits B & C), the August 7

deadline imposes a severe burden on local election authorities who believe it will be very

difficult, if not impossible, to finalize their ballots in time for the September 19, 2020 deadline to

mail out military and overseas ballots required by the Uniformed and Overseas Citizens

Absentee Voting Act. 52 USCA § 20302(a)(8).

6.      Because the prospect of an August 7, 2020 filing deadline first arose in this case on April

21, 2020 (and the idea of any August filing deadline did not come up until April 19), the Board

was unable to present the Court with difficulties such a late filing deadline presents to both it and

local election authorities.

7.      For example, the Board is required by law to certify the final contents of the ballot to

local election authorities no later than August 21, 2020, so that those authorities can begin the

process of preparing ballots for the election. 10 ILCS 5/10-14. Pursuant to Section 10-8 of the

Election Code, any voter objecting to a candidate’s nomination papers must do so within five

business days of the filing deadline. 10 ILCS 5/10-8. Accordingly, this Court’s Order creates an

August 14, 2020 objection deadline. As indicated in the attached Declarations, this begins an

administrative process that often takes another seven days before the various electoral boards

created to hear these objections can even begin to consider the objections. 10 ILCS 5/10-9. In

short, the August 7, 2020 filing deadline creates a system where electoral boards cannot begin to



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consider any objections until the same day that the Board is supposed to certify the final ballot to

local election officials.

8.      For example, if a candidate’s nomination papers were challenged pursuant to the

applicable provisions of the Election Code, and that challenge were not resolved by the 45th day

before the election, the local election authority would either have to miss the federal mailing

deadline and wait until the objections are resolved, or meet the deadline and send out ballots

knowing that some candidates appearing on the ballots could later be removed, thereby causing

the voters who receive those ballots to be disenfranchised by voting for candidates later

determined to be ineligible. In such a case, all votes for a candidate whose name appeared on a

mailed ballot, but who is later deemed ineligible, are discarded and not counted.

9.      In this case, the Complaint filed on April 2, 2020 did not request a delay in the petition

filing period. Comp., pp. 25-26. Pursuant to this Court’s initial Order, on April 19, 2020,

Plaintiffs proposed an August 3, 2020 filing deadline. The following day, April 20, Defendants

proposed delaying the filing period by two weeks until July 6, 2020. The parties could not come

to any agreement.

10.     The Court held a hearing on this matter on April 21, 2020, at which time the August 7,

2020 filing deadline was first raised by the Court (no parties had proposed such a late filing

deadline) and the Preliminary Injunction Order was entered on April 23, 2020. When the

prospect of an August 7, 2020 filing deadline was first raised, the Board’s attorney had the

following exchange with the Court:

        MR. KASPER: And, your Honor, this is Michael Kasper again. I'm sorry to raise one last
        point. The Board is very concerned about the August 7th deadline because that bumps up
        against the other statutory deadlines and the deadlines imposed to get military ballots out
        under federal law. And so we would sort of ask you to reconsider that and maybe push it
        forward a little bit.



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        THE COURT: You know, I'd like to push it forward because I do think it's very difficult
        to get these things printed but I'm also -- I'm really sensitive to the world we're living in
        in Illinois and the difficulties that the governor has and that the rest of us have in trying to
        balance our need to proceed with life as we know it on the one hand versus the very, very
        significant public health concerns and the need for social distancing and stay at home
        even after those orders are lifted. I don't think I can be any more generous than that.

        MR. KASPER: Okay. Thank you, your Honor.

Tr., 4/22/20, pp. 37-38.

11.     Due to the expeditious nature of the preliminary injunction proceedings, the Board was

unable to fully assess the impact of an August 7, 2020 petition filing on the orderly

administration of the election. Since the April 23, 2020 Order, the Board has made such an

assessment and has had the opportunity to consult with other election authorities who agree that

such a late filing deadline will severely impact their ability to conduct an accurate and orderly

election on November 3, 2020.

12.     In addition, the Board and local election officials have severe reservations regarding the

significant reduction in the signature threshold contained in the Court’s Order – reducing the

statutory signature minimum by 90% of the number required by the Illinois Election Code.

While the Board agreed that some reduction was appropriate (it initially proposed 50% and was

willing to agree to 33%), the Board and local election officials believe that reducing the

minimum number of signatures by 90% renders the threshold merely de minimus. Such a drastic

reduction also threatens the orderly conduct of the election by inviting a slew of non-serious

candidates who lack the traditional modicum of support necessary to qualify, leading to

increased litigation and delays through increased ballot objections, as well as an overly cluttered

and confusing ballot. Accordingly, the Board asks that the Court reconsider this aspect of its

Preliminary Injunction Order as well.




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13.     A request for reconsideration under Rule 59(e) “allows a party to direct the district

court’s attention to newly discovered material evidence or a manifest error of law or fact, and

enables the court to correct its own errors and thus avoid unnecessary appellate procedures.”

Moro v. Shell Oil Co., 91 F.3d 872, 876 (7th Cir. 1996).

14.     On Tuesday of this week, the Sixth Circuit Court of Appeals issued a decision regarding

the same issues as presented here in the State of Michigan. In that case, like this one, the District

Court issued a preliminary injunction reducing the signature threshold for the upcoming election

(but by only 50%), delayed the filing deadline, and ordered the election authority to accept

electronic signatures. Esshaki, p. 3.

15.     The Sixth Circuit reversed that decision finding that “through a plenary re-writing of the

State’s ballot- access provisions” the District Court “was not justified” because “federal courts

have no authority to dictate to the States precisely how they should conduct their elections.” Id.,

citing Clingman v. Beaver, 544 U.S. 581, 586 (2005).

16.     Instead, the Sixth Circuit directed “the State to select its own adjustments so as to reduce

the burden on ballot access, narrow the restrictions to align with its interest, and thereby render

the application of the ballot-access provisions constitutional under the circumstances.” Id., at pp

3-4. In this case, the Board respectfully requests that this Court issue a similar Order directing

the State to make the accommodations necessary under the circumstances.

        WHEREFORE, for the foregoing reasons, the Illinois State Board of Elections

Defendants respectfully pray that this Court: (1) grant its Motion to Reconsider its April 23, 2020

Order; (2) issue an Amended Order directing the Board to establish appropriate ballot access

requirements for independent and new political party candidates for the November 3, 2020

election; and (3) order such other relief as may be just and proper. In the alternative, the



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Defendants request that this Court amend the preliminary injunction order issued on April 23,

2020 to move the deadline for candidate nomination and petition filings from July 31, 2020

through August 7, 2020 to June 29, 2020 through July 6, 2020, and setting the minimum petition

signature threshold at 25% of the statutory minimum.


                                           Respectfully submitted,
                                           Defendants, Members of the Illinois State
                                           Board of Elections


                                           By: /s/ Michael J. Kasper
                                           One of their Attorneys


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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

       Libertarian Party of Illinois, et al.,   )       Case No. 20 CV 2112
                                                )
               Plaintiffs,                      )       Hon. Charles R. Norgle, Sr.,
                                                )       Presiding Judge
       and Kyle Kopitke,                        )
                                                )       Hon. Jeffrey Cummings
               Intervenor,                      )       Magistrate Judge
                                                )
               vs.                              )       Hon. Rebecca R. Pallmeyer,
                                                )       Emergency Judge.
       J.B. Pritzker, et al.,                   )
                                                )
               Defendants.                      )

                                    CERTIFICATE OF SERVICE

       I hereby certify that on May 8, 2020, I electronically filed the foregoing State Board

of Elections Defendants’ Emergency Motion for Reconsideration in Part of Order

Granting Preliminary Injunction along with the accompanying Exhibits with the Clerk of

Court using the CM/ECF system, which will notify all participants in the CM/ECF system as

follows:

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                                       Respectfully submitted,
                                       Defendants, Members of the Illinois State
                                       Board of Elections


                                       By: /s/ Michael J. Kasper
                                       One of their Attorneys


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